                        Case 3:16-cv-02954-LB Document 245 Filed 05/30/19 Page 1 of 2


                   1   LATHAM & WATKINS LLP
                         Sarah M. Ray (Bar No. 229670)
                   2      sarah.ray@lw.com
                         Alicia R. Jovais (Bar. No. 296172)
                   3      alicia.jovais@lw.com
                         Diana A. Aguilar (Bar No. 304427)
                   4      diana.aguilar@lw.com
                         505 Montgomery Street, Suite 2000
                   5     San Francisco, California 94111-6538
                         Telephone: +1.415.391.0600
                   6     Facsimile: +1.415.395.8095

                   7      Elyse M. Greenwald (Bar No. 268050)
                            elyse.greenwald@lw.com
                   8      200 Clarendon Street, 27th Floor
                          Boston, MA 02116
                   9      Telephone: +1.617.948.6000
                          Facsimile: +1.617.948.6001
               10
                       GATTEY LAW OFFICE
               11        Scott D. Gattey (Bar No. 180875)
                           scott@gatteylaw.com
               12        1001 Laurel Street, Suite C
                         San Carlos, California 94070
               13        Telephone: +1.650.596.7123
                         Fax: +1.866.371.3491
               14
                       Attorneys for Defendant Oracle Corporation
               15

               16                                   UNITED STATES DISTRICT COURT

               17                              NORTHERN DISTRICT OF CALIFORNIA

               18                                      SAN FRANCISCO DIVISION

               19
                       GROUSE RIVER OUTFITTERS LTD.,                Case No. 3:16-cv-02954-LB
               20
                                       Plaintiff,                   ORACLE CORPORATION’S
               21                                                   RULE 26(A)(3) DISCLOSURES
                             v.
               22
                       ORACLE CORPORATION,
               23
                                       Defendant.
               24

               25

               26

               27

               28

ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                             ORACLE CORP.’S 26(A)(3) DISCLOSURES
                                                                                       CASE NO. 3:16-CV-02954-LB
                            Case 3:16-cv-02954-LB Document 245 Filed 05/30/19 Page 2 of 2


                   1           Defendant Oracle Corporation (“Oracle”) provides the following pretrial disclosures

                   2   pursuant to Fed. R. Civ. P. 26(a)(3) and the Court’s Case Management and Pretrial Order

                   3   (Dkt. 55).

                   4   I.      WITNESSES TO BE PRESENTED AT TRIAL

                   5           Oracle expects to present the following witnesses at trial: Ryan Murphy, Jeff Swan,

                   6   Branden Jenkins, and David Perry. Messrs. Murphy, Swan, Jenkins and Perry may be contacted

                   7   through counsel for NetSuite.

                   8           If the need arises at trial, Oracle may call any other witnesses identified or called by

                   9   Grouse River, any impeachment and rebuttal witnesses as necessary, and any custodian of record

               10      necessary to authenticate documents.

               11      II.     WITNESSES TO BE PRESENTED BY DEPOSITION

               12              Oracle expects to present, through deposition testimony, the following witnesses at trial:

               13      Glenn Fallis, Maciek Wronski, Troy Hill, and Kristen Harder. A summary of each of these

               14      witnesses’ testimony is part of Oracle’s Witness List, which is being filed today with the parties’

               15      Joint Proposed Pretrial Order.

               16      III.    IDENTIFICATION OF DOCUMENTS TO BE OFFERED AT TRIAL

               17              Oracle expects to offer or utilize the exhibits and/or documents identified in the parties’

               18      Joint Exhibit List, which is being filed today with the parties’ Joint Proposed Pretrial Order.

               19      Oracle reserves the right to present other documents and/or exhibits depending upon the

               20      evidence offered by Grouse River at trial, including exhibits for impeachment or rebuttal. Oracle

               21      also reserves the right to present demonstratives at trial.

               22

               23      Dated: May 30, 2019                                     Respectfully submitted,

               24                                                              LATHAM & WATKINS LLP

               25
                                                                               /s/ Sarah M. Ray
               26                                                              Sarah M. Ray
                                                                               Attorney for Defendant Oracle Corporation
               27

               28
                                                                                      ORACLE CORP.’S 26(A)(3) DISCLOSURES
ATTORNEYS AT LAW
 SAN FRANCISCO                                                             1                    CASE NO. 3:16-CV-02954-LB
